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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 15-755V
                                       Filed: May 10, 2017

* * * * * * * * * * * * * * * *
ASHLEY ENCINIAS,              *
                              *                              Special Master Sanders
          Petitioner,         *
                              *
v.                            *                              Attorneys’ Fees and Costs;
                              *                              Reasonable Amount Requested.
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
          Respondent.         *
* * * * * * * * * * * * * * * *

Lawrence R. Cohan, Anapol Weiss, Philadelphia, PA, for Petitioner.
Claudia B. Gangi, United States Department of Justice, Washington, DC, for Respondent.

               DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

       On July 20, 2015, Ashley Encinias (“Petitioner”) filed a petition for compensation
pursuant to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34
(2012). Petitioner alleged that as a result of an influenza (“flu”) vaccine administered on
October 29, 2013, she developed Bell’s palsy, facial spasms, and dystonia. Decision Stipulation,
ECF No. 35. On December 9, 2016, Special Master Hamilton-Fieldman issued a decision
awarding compensation to Petitioner pursuant to the parties’ stipulation. Id.

        On March 7, 2017, Petitioner filed an application for attorneys’ fees and costs. Mot.
Att’ys’ Fees, ECF No. 42. Petitioner requested attorneys’ fees in the amount of $28,646.00, and
1
 This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3758, codified as amended, 42 U.S.C. §§ 300aa-10 et seq. (2012)
(hereinafter “Vaccine Act” or “the Act”). Hereinafter, individual section references will be to 42
U.S.C. § 300aa of the Act.
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attorneys’ costs in the amount of $1,962.24, for a total of $30,608.24. Id. at 2. Petitioner averred
that she incurred no personal costs during the litigation of her case. Id.

        Respondent indicated that “[t]o the extent the Special Master is treating [P]etitioner’s
request for attorneys’ fees and costs as a motion that requires a response from [R]espondent . . .
Respondent is satisfied the statutory requirements for an award of attorneys’ fees and costs are
met in this case.” Resp’t’s Resp. 2, ECF No. 43. Respondent recommended that the
undersigned exercise her discretion and determine a reasonable award for attorneys’ fees and
costs. Id. at 3.

        The undersigned has reviewed Petitioner’s counsel’s detailed records of time and
expenses incurred in this case, and they are reasonable. In accordance with the Vaccine Act, 42
U.S.C. § 300aa-15(e) (2012), the undersigned finds that Petitioner is entitled to attorneys’ fees
and costs. Accordingly, the undersigned hereby awards the amount of $30,608.24,3 in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, Lawrence R.
Cohan, of Anapol Weiss. In the absence of a motion for review filed pursuant to RCFC
Appendix B, the clerk of the court shall enter judgment in accordance herewith.4


       IT IS SO ORDERED.

                                              s/Herbrina D. Sanders
                                              Herbrina D. Sanders
                                              Special Master




3
  This amount is intended to cover all legal expenses incurred in this matter. This award
encompasses all charges by the attorney against a client, “advanced costs” as well as fees for
legal services rendered. Furthermore, § 15(e)(3) prevents an attorney from charging or
collecting fees (including costs) that would be in addition to the amount awarded herein. See
generally Beck v. Sec’y of Health & Human Servs., 924 F.2d 1029 (Fed. Cir. 1991).
4
 Entry of judgment can be expedited by each party’s filing of a notice renouncing the right to
seek review. Vaccine Rule 11(a).

                                                 2
